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                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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     ____________________________________________
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     ALEXANDRA TABER,                             )
 8                                                )                 Case No. C20-1633RSL
                           Plaintiff,             )
 9              v.                                )
                                                  )                 ORDER TO SHOW CAUSE
10   CASCADE DESIGNS, INC., et al.,               )
                                                  )
11                         Defendants.            )
     ____________________________________________ )
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13                 On December 14, 2020, the Court issued an order requiring the parties to file a
14   Joint Status Report by January 11, 2021. No such report has been filed and the parties have not
15   sought or obtained an extension of time in which to make the required submission. The parties
16   shall, no later than Thursday, January 28, 2021, file their Joint Status Report and show cause to
17   the Court why sanctions including dismissal should not be imposed for their failure to comply
18   with the Order of December 14, 2020. The Clerk is directed to place this Order to Show Cause
19   on the Court’s calendar for January 29, 2021.
20
21                 DATED this 12th day of January, 2021.

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                                               A
                                               Robert S. Lasnik
24                                             United States District Judge

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     ORDER TO SHOW CAUSE
